          16-01020-jlg       Doc 65      Filed 03/28/19 Entered 03/29/19 00:26:36                   Imaged
                                        Certificate of Notice Pg 1 of 2
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York

In re: Amir Orly                                                                  Bankruptcy Case No.: 15−11650−jlg

Alfredo Moreno Cocoletzi
Edgar Monteroso
Gilberto Dario Ramirez Ramos
German Torres Romero
Cristian Fredy Villar Medina
                                                      Plaintiff(s),
−against−                                                                     Adversary Proceeding No. 16−01020−jlg
Amir Orly
                                                     Defendant(s)




                                               ENTRY OF DEFAULT

It appears from the record that the following defendant failed to plead or otherwise defend in this case as required by
law.

                                  Name:                    Amir Orly
Therefore, default is entered against the defendant as authorized by Bankruptcy Rule 7055.




Dated: 3/26/19                                                                      Vito Genna

                                                                                    Clerk of the Court

                                                                                    By: /s/ Willie Rodriguez

                                                                                    Deputy Clerk
                16-01020-jlg         Doc 65       Filed 03/28/19 Entered 03/29/19 00:26:36                         Imaged
                                                 Certificate of Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of New York
Cocoletzi,
         Plaintiff                                                                                Adv. Proc. No. 16-01020-jlg
Orly,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User:                              Page 1 of 1                          Date Rcvd: Mar 26, 2019
                                      Form ID: clkdflt                   Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 28, 2019.
dft            +Amir Orly,   441 E 83rd Street, Apt E,    New York, NY 10028-6172
pla            +Cristian Fredy Villar Medina,    c/o Michael Faillace & Associates, P.C.,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10165-0018
pla            +Edgar Monteroso,   c/o Michael Faillace & Associates, P.C.,     60 East 42nd Street,   Suite 2540,
                 New York, NY 10165-0018
pla            +German Torres Romero,    c/o Michael Faillace & Associates, P.C.,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10165-0018
pla            +Gilberto Dario Ramirez Ramos,    c/o Michael Faillace & Associates,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10024,     UNITED STATES 10165-0018

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Alfredo Moreno Cocoletzi
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 28, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 26, 2019 at the address(es) listed below:
              Jesse Barton    on behalf of Plaintiff Alfredo Moreno Cocoletzi jbarton@faillacelaw.com
              Joshua S. Androphy   on behalf of Plaintiff Alfredo Moreno Cocoletzi jandrophy@faillacelaw.com,
               michael@faillacelaw.com
                                                                                            TOTAL: 2
